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                EXHIBIT B
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                                              LAW OFFICES
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                                          February 14, 2019



 Via Email

 Mr. John C. Bostic, Esquire
 Mr. Jeffrey Schenk, Esquire
 Mr. Robert Leach, Esquire
 Assistant United States Attorneys
 United States Attorney’s Office
 Northern District of California
 150 Almaden Blvd. Suite 900
 San Jose, CA95113


                  Re:   United States v. Elizabeth Holmes and Ramesh “Sunny” Balwani, No. CR-
                        18-00258-EJD (N.D. Cal.)

  Dear Counsel:

          As you know, our client, Elizabeth Holmes, had prior attorney-client relationships with
  certain witnesses whom the government interviewed in this matter, including David Boies and
  Daniel Mosley (“Holmes Counsel”). We are concerned that in providing information to the
  government, these witnesses may have violated their legal and/or ethical obligations to Ms.
  Holmes. To permit us to properly assess this matter and consider what, if any, redress may be
  warranted, we ask that you provide us with the following documents and information:

         1. Copies of any subpoenas directed to Holmes Counsel, their law firms, or any
  corporations with which they are affiliated;

        2. Copies of all rough or draft notes of the interviews that were conducted of Holmes
  Counsel;

         3. Copies of all communications you or other members of your prosecutorial team have
  had with Holmes Counsel, or attorneys representing them; and
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WILLIAMS & CONNOLLY LLP
John Bostic, Jeffrey Sehenk, and Robert Leach
February 14, 2019
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        4. Summaries of all oral communications (including proffers) you or other members of
your proseeutorial team have had with Holmes Counsel, or attorneys representing them, that are
not otherwise memorialized in Federal Bureau of Investigation 302s or other ageney reports of
investigation.

        While we assess the degree to which Ms. Holmes’ rights may have be infringed upon, we
ask that the government refrain from substantively reviewing the materials requested above and
the 302s and reports of investigation for Holmes Counsel that have been produced to date.

       We appreciate your prompt consideration of this matter.
